       Case 2:09-cr-00258-GEB Document 147 Filed 03/26/13 Page 1 of 2



 1   BENJAMIN B. WAGNER
     United States Attorney
 2   R. STEVEN LAPHAM
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2724

 5

 6                IN THE UNITED STATES DISTRICT COURT FOR THE

 7                       EASTERN DISTRICT OF CALIFORNIA

 8
     UNITED STATES OF AMERICA,     )
 9                                 )          CR. NO. S-09-258 GEB
                 Plaintiff,        )
10                                 )          GOVERNMENT'S MOTION TO
          v.                       )          DISMISS INDICTMENT AS TO
11                                 )          MUZDHA KHALIL
     MUZDHA KHALIL,                )
12                                 )
                 Defendants.       )
13   ______________________________)

14
                Pursuant to Rule 48(a) of the Federal Rules of Criminal
15
     Procedure, and the diversion agreement previously entered into
16
     with the defendant, the United States respectfully moves this
17
     court for an order dismissing the indictment as to Muzdha Khalil
18
     only.
19
     DATED: March 12, 2013
20
                                              BENJAMIN B. WAGNER
21                                            United States Attorney

22
                                          By: /s/R. Steven Lapham
23                                           R. STEVEN LAPHAM
                                             Assistant U.S. Attorney
24

25

26

27

28

                                          1
       Case 2:09-cr-00258-GEB Document 147 Filed 03/26/13 Page 2 of 2



 1   BENJAMIN B. WAGNER
     United States Attorney
 2   R. STEVEN LAPHAM
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2724

 5

 6                IN THE UNITED STATES DISTRICT COURT FOR THE

 7                       EASTERN DISTRICT OF CALIFORNIA

 8
     UNITED STATES OF AMERICA,     )
 9                                 )               CR. NO. S-09-258 GEB
                 Plaintiff,        )
10                                 )               ORDER DISMISSING
          v.                       )               INDICTMENT AS TO
11                                 )               MUZDHA KHALIL ONLY
     MUZDHA KHALIL,                )
12                                 )
                 Defendants.       )
13   ______________________________)

14

15              Based on the government's motion to dismiss the

16   indictment against Muzdha Khalil,

17              IT IS HEREBY ORDERED that the above-captioned Indictment

18   be and hereby is dismissed as to Muzdha Khalil only.

19              IT IS FURTHER ORDERED that the Clerk of the District

20   Court return Muzdha Khalil’s passport to her.

21   Dated:   March 26, 2013
22

23                                   GARLAND E. BURRELL, JR.
                                     Senior United States District Judge
24

25

26

27

28

                                          2
